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FILED
HARRISBURG, PA

UNITED STATES DISTRICT COURT JUL - 8 2671
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
PER__ 751
CHALMERS A SIMPSON, JR DEPUTY CLERK
(Plaintiff) AFFIDAVIT / DECLARATION
IN SUPPORT OF REQUEST

v. TO PROCEED
. IN FORMA PAUPERIS
VISION PROPERTY MANAGEMENT

(Defendant)
I CHALMERS A SIMPSON, JR certify that I am the plaintiff in the above

entitled case; that in support of my motion to proceed without being required to prepay fees,
costs or give security therefor, I state that because of my present financial condition I am unable
to pay the costs of said proceeding or to give security therefor; that I believe Iam entitled to

redress.

I further state that the responses which I have made to questions and instructions below are true
and correct.

1. Are you presently employed? Yes No X

a, If the answer is yes, state the amount of your salary or wages per month, and give the name
and ‘address of your employer.

b. If the answer is no, state the date of last employment and the amount of the salary and wages

per month which you received.
12/21/2015 $2,89 + TIPS

2. | Have you received within the past twelve months any money from any of the following
sources?

‘a, Business, profession or form of self-employment? Yes Nox
b. Rent payments, interest or dividends? Yes No x
' c, Pensions, annuities or life insurance payments? Yes No x
a X
| d. Gifts or inheritances? Yes No

x
‘ e@, Any other sources? Yes No

i
If the answer to any of the above is yes, describe each source of money and state the amount
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received from each during the past twelve months.

3. | Do you own any cash, or do you have money in a checking or savings account? Yes
No: X (Include any funds in prison accounts.)

If the answer is yes, state the amount of cash or the present balance in any account.

4, Do you own any real estate, stocks, bonds, notes, automobiles, or other valuable property,
excluding ordinary household furnishings and clothing? Yes No_%

if the answer is yes, describe the property and state its approximate value.

5. | List the persons who are dependent upon you for support, state your relationship to those
persons, and indicate how much you contribute toward their support. In order to comply with the
court’s privacy policy, only the initials of a minor should be listed below. Also, listing the age of
the minor is acceptable; however, only the year of birth may be included. See the court’s “Notice
of Electronic Availability of Civil and Criminal Case File Information” and Local Rule 5.2 for
more information on redaction of personal data identifiers.

NONE

6. : List your monthly expenses for:

food $250,00
rent 588,00
utilities 214,00
child care NONE
medical care 114,00
other (explain) 150,00 TRANSPORTATION TO DOCTORS

PHILA TRAF COURT 10,00/PENN DOT $100,00/PPL $57,00/
UGI $50,00/WATER BILL $50,00/TRASH $50, 00/XFINITY $50, 00

FIRE BILL $5,00/UC SERVICE CENTER $5,/00/COURTS $15,00

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7. List any debts (mortgage, credit card, student loan, etc.) and the monthly fee on those debts:

STUDENT LOAN $2,700/ CREDIT ONE BANK $30,,monthly

I understand that a false statement or answer to any questions in this
affidavit/ unsworn declaration will subject me to penalties for

perjury.

I declare under penalty of perjury that the foregoing is true and
correct.

Executed on 6/7/21

